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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                        DECISION AND ORDER
            v.
                                                               13-CR-83S
JORGE QUINONES,

                                Defendant.


I) INTRODUCTION
      Pending before the Court is a motion (Dkt. No. 193) by defendant Jorge

Quinones (“Quinones”) for pretrial release on conditions including electronic

monitoring. Quinones had not contested the Government’s motion for detention

because a state parole warrant operated as a detainer and made any request for

bail effectively moot. The warrant lifted, however, on March 12, 2014. Quinones

now argues that he faces relatively minor charges, that the Government has

limited evidence against him, and that he has strong family ties to the area that

mitigate any risk of flight. The Government and the United States Probation

Office (“USPO”) oppose release given the nature of the charges, the alleged

occurrence of the pending charges while Quinones was on parole, and

Quinones’s criminal history.

      The Court held a bail review hearing on September 24, 2014. For the

reasons below, the Court denies Quinones’s motion.
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II) BACKGROUND
      This case concerns allegations that Quinones helped sell drugs in Western

New York as part of a street gang called the Loiza Boys. In the pre-indictment

complaint filed against Quinones (Dkt. No. 1), the Government referred to

confidential sources who bought heroin from Quinones directly or who either saw

or overheard Quinones sell heroin to others. Agents arrested Quinones on

February 28, 2013. The Court held an attorney appointment hearing on March 4,

2013, at which time Quinones waived his right to a detention hearing. Quinones

waived his right because state parole officials were obtaining a violation warrant

against him that would operate as a detainer in the event of release. The Court

ordered Quinones detained as a danger but without prejudice. (Dkt. No. 3.) A

grand jury indicted Quinones and nine others on April 5, 2013. (Dkt. No. 10.) In

Count One of the indictment, the Government accused Quinones and others of

conspiring to possess and to distribute one kilogram or more of heroin in violation

of 21 U.S.C. § 846. In Count Two, the Government accused Quinones and

others of maintaining a drug premises in violation of 21 U.S.C. § 856(a)(1). In

Count Six, the Government accused Quinones of possession of heroin with intent

to distribute on or about August 7, 2012, in violation of 21 U.S.C. §§ 841(a)(1)

and 841(b)(1)(C). After a change of counsel and another detention hearing on

April 29, 2013, Quinones again did not contest the Government’s desire to keep

him detained. (Dkt. No. 33.) Quinones decided again that the state parole

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warrant made any request for bail at that time useless because it continued to

operate as a detainer.

      The expiration of the state parole warrant prompted Quinones to file the

pending motion, which he has titled a motion for reconsideration. Quinones cites

the lifting of the parole warrant on March 12, 2014 as a change of circumstances

that warrants reconsideration. Quinones then proceeds to argue that the nature

of the charges against him are relatively minor with respect to the burden that the

Government carries to prove either a flight risk or danger. Assessing the weight

of the evidence, Quinones contends that the Government has no wiretaps,

recorded conversations, or physical evidence against him, though he does

acknowledge the existence of statements that the Government claims that he

made. Quinones then emphasizes his strong family ties in the local community

and the potential for employment, factors that would mitigate against detention.

Quinones concludes that the case has the potential for a due process concern,

because continued “detention without bail will eventually result in a violation of

his constitutional rights to due process and statutory rights under 18 U.S.C.

§ 3142.” (Dkt. No. 193.)

      The Government opposes the pending motion. In its opposition papers,

the Government focuses on the standard for bail reconsideration and argues that

the expiration of the state parole warrant does not meet that standard. In prior

appearances, the Government emphasized the nature of the charges and the
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presumption in favor of detention, along with Quinones’s criminal history. The

USPO highlights Quinones’s criminal history in its opposition, including his two

prior violent felony convictions that involved gun possession.

III) DISCUSSION
      “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such

release will not reasonably assure the appearance of the person as required or

will endanger the safety of any other person or the community.’” U.S. v.

Sabhnani, 493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered

when assessing flight or danger include the nature and circumstances of the

offense charged, the weight of the evidence against the person, the history and

characteristics of the person, and the nature and seriousness of the danger to

any person or the community that would be posed by the person’s release. See

18 U.S.C. § 3142(g).

      With respect to flight risk, “the government carries a dual burden in seeking

pre-trial detention. First, it must establish by a preponderance of the evidence

that the defendant, if released, presents an actual risk of flight. Assuming it

satisfies this burden, the government must then demonstrate by a

preponderance of the evidence that no condition or combination of conditions
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could be imposed on the defendant that would reasonably assure his presence in

court.” Sabhnani, 493 F.3d at 75 (citations omitted). “To order detention, the

district court must find, after a hearing, that the government has established the

defendant’s dangerousness by clear and convincing evidence. The rules of

evidence do not apply in a detention hearing. Further, the government may

proceed by proffer.” U.S. v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995) (citations

omitted).

      As a preliminary matter, the Court will not apply the higher reconsideration

standard to Quinones. Quinones has appeared twice previously for detention

proceedings. In the first appearance on March 4, 2013, Quinones waived his

right to a detention hearing because of the state parole warrant. This Court

explicitly made its order of detention without prejudice. The second detention

proceeding did not occur at Quinones’s request. Following a change of counsel

because of an attorney conflict, Magistrate Judge Leslie Foschio, covering for

this Court, wanted new counsel to take his own position regarding detention.

Counsel did not oppose the Government’s renewed request for detention, again

because of the state parole warrant. This procedural history means that until

now, Quinones never addressed the Government’s request for detention on

substance. At least once before, Quinones was allowed to avoid the substance

of the Government’s request without prejudice. Avoiding the substance of the

Government’s request gets to the whole point of having a higher standard for any
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sort of reconsideration motion—the need to avoid repeated motion practice and

other proceedings once a litigant has been heard on the merits. That has not

happened here. Without a contested detention proceeding in the record, the

Court is reluctant to hold Quinones to the higher reconsideration standard. The

Court thus will proceed with a consideration of the Section 3142(g) factors as if

doing so in the first instance.

      After due consideration, the Court finds that several factors weigh in favor

of Quinones’s detention. Quinones faces serious charges related to helping a

street gang sell large quantities of narcotics. The charges are serious in

themselves and also trigger a presumption in favor of detention, a presumption

that Quinones has not rebutted. The lack of recorded conversations does not

necessarily address the information from the pre-indictment complaint about

observed drug transactions. Without infringing on the presumption of innocence,

Quinones has admitted in his own motion papers that, at a minimum, the

Government has statements that it claims that he made and that it claims are

inculpatory. Cf. U.S. v. Moorer, 783 F. Supp. 2d 154, 159 (D.D.C. 2011) (“The

Government has strong evidence against Bowman based on the controlled

purchases of cocaine in 2010, his pattern of arranging meetings with potential

customers, and his own inculpatory statements.”). Quinones also has a

significant criminal history. Quinones has a 2002 conviction for attempted

criminal possession of a loaded firearm, third degree, a violent felony offense.
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Less than a year later, while released on bail pending the gun charge, Quinones

pled guilty to first-degree attempted robbery with display of a firearm. Now,

through the pending charges, Quinones again stands accused of committing a

crime while on some form of release, this time parole. Cf. U.S. v. Hendon, No.

08-CR-172, 2009 WL 2912906, at *2 (E.D. Wis. Sept. 10, 2009) (denying

reconsideration of bail in part because “Defendant also has a serious prior

record, and while he may not have previously served prison time, he does have

convictions for escape and bail jumping.”); U.S. v. Barnett, No. 5:03-CR-243,

2003 WL 22143710, at *12 (N.D.N.Y. Sept. 17, 2003) (“Every sentence of

probation or parole requires a defendant to meet judicially imposed conditions,

and violations of either are further evidence of a defendant’s inability to comply

with judicial mandates and supervision. Evidence of new criminal behavior while

other charges are pending inevitably leads to the conclusion that a defendant

places his own self-interests above that of the community. In turn, the

community has a right to expect courts to protect it.”). Quinones’s criminal

history, particularly the bail and parole violations, indicates an unwillingness to

abide by conditions of release that offsets his local ties. Cf. U.S. v. Griffin, No.

CR09-3018, 2009 WL 1220262, at *3 (N.D. Iowa May 4, 2009) (“While Defendant

has long ties to the northeast Iowa area, he is currently unemployed. Defendant

has an extensive prior criminal record, both as a juvenile and as an adult.

Importantly, Defendant has consistently shown that he is unable or unwilling to
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comply with conditions of release.”); U.S. v. Roman-Monroy, 608 F. Supp. 2d 86,

88 (D.D.C. 2009) (ordering detention in part because of a bail jumping

conviction); accord U.S. v. Purdue, No. 14-MJ-2066, 2014 WL 3846067, at *3

(W.D.N.Y. Aug. 4, 2014) (Scott, M.J.).

      Under these circumstances, Quinones not only is facing serious charges

with some question about inculpatory statements but also has established a

history of deciding for himself whether release conditions will stop him from

further offense conduct. The Court accordingly finds a danger by clear and

convincing evidence. If subsequent developments or excessive delay in the case

generate a change of circumstances then the Court may consider a request for

reconsideration.

IV) CONCLUSION
      For all of the foregoing reasons, the Court denies Quinones’s bail motion

(Dkt. No. 193). Quinones will remain in custody pending trial.

      Quinones will remain committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal.

      Despite the Court’s order of detention, and pursuant to 18 U.S.C.

§ 3142(i)(3), the Attorney General must afford Quinones reasonable opportunity

for private consultation with counsel. See also U.S. v. Rodriguez, No. 12-CR-

83S, 2014 WL 4094561 (W.D.N.Y. Aug. 18, 2014) (Scott, M.J.). Additionally, on
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order of the Court or on request of an attorney for the Government, the person in

charge of the corrections facility in which Quinones is confined must deliver

Quinones to a United States Marshal for the purpose of an appearance in

connection with a court proceeding in this case.

      In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

will be construed as modifying or limiting the presumption of innocence.

      SO ORDERED.
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                                      HONORABLE HUGH B. SCOTT
                                      UNITED STATES MAGISTRATE JUDGE
DATED: October 10, 2014




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